                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION


KENNETH ALDRICH,                                   )
                                                   )       Case No. 7:12-cv-279
       Plaintiff,                                  )
                                                   )
       vs.                                         )
                                                   )       NOTICE OF DISMISSAL
COMMERCIAL RECOVERY SYSTEMS,                       )
INC.,                                              )
                                                   )
       Defendant.                                  )


       Now comes the Plaintiff, KENNETH ALDRICH, by and through his attorneys, and

hereby advises the Court that he is dismissing the above-captioned matter with prejudice,

pursuant to a settlement agreement reached between the parties



                                                   Respectfully submitted,

                                                   s/ Mitchel E. Luxenburg
                                                   Mitchel E. Luxenburg (42021)
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                                                   Attorney for Plaintiff
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             Case 7:12-cv-00279-D Document 8 Filed 12/12/12 Page 1 of 2
                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 12, 2012, a copy of the foregoing Notice of Dismissal was

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt. Parties may access this filing through

the Court’s system.



                                                        s/ Mitchel E. Luxenburg
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            Case 7:12-cv-00279-D Document 8 Filed 12/12/12 Page 2 of 2
